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10                             UNITED STATES DISTRICT COURT
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

12
13    THE PEOPLE OF THE STATE OF               No. 3:17-cv-7106-SK
      CALIFORNIA,
14
                      Plaintiff,
15
              v.
16
      UNITED STATES DEPARTMENT OF
17    EDUCATION, et al.,
18                    Defendants.
19
20    MARTIN CALVILLO MANRIQUEZ, et al.,       No. 3:17-cv-7210-SK
21
                      Plaintiffs,
22                                             JOINT STATUS REPORT
              v.
23
      UNITED STATES DEPARTMENT OF
24    EDUCATION, et al.,

25                    Defendants.

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     Joint Status Report
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 1          The parties hereby submit the following status report in response to the Court’s July 17,
 2   2023 order.
 3          As noted in prior reports, the parties are working towards a negotiated dismissal of the
 4   above-referenced litigation in light of the Department’s progress effectuating a group discharge
 5   for students who attended Corinthian Colleges, Inc. See ECF No. 379 (Calvillo Manriquez); ECF
 6   No. 186 (California). At this time, nearly 100% of Corinthian borrowers who applied for borrower
 7   defense relief have had their loans discharged. And more than 377,000 Corinthian borrowers who
 8   did not apply for relief have also had their loans discharged, constituting approximately 76% of
 9   the total number of non-applicant discharges the Department expects to grant as part of the
10   Corinthian group discharge.
11          The parties continue their work preparing the documents necessary for dismissal, which
12   has included the sharing of drafts, and expect to request a conference with the Court to discuss
13   next steps once those documents are finalized. The parties have made good progress recently, and
14   believe that additional time would be beneficial to allow them to continue their negotiations. The
15   parties respectfully request that the Court set a further deadline for a status report in 45 days.
16   Dated: September 18, 2023                          Respectfully submitted,
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     Joint Status Report
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